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                       UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF NEW YORK

MOMODOU TAAL, MŨKOMA WA NGŨGĨ,
and SRIRAM PARASURAMA,

                    Plaintiffs,
      v.                                                        3:25-cv-335
                                                                 3:25-cv-335
                                               Civil Action No. __________  (ECC/ML)
                                                                              (EEC/ML)

DONALD J. TRUMP, in his official capacity as
President of the United States; U.S.
DEPARTMENT OF HOMELAND SECURITY;
and KRISTI NOEM, in her official capacity as
Secretary of the U.S. Department of Homeland
Security;

                    Defendants.




     PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR
    PRELIMINARY INJUNCTION AND TEMPORARY RESTRAINING ORDER




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                               I.    PRELIMINARY STATEMENT

        Through executive fiat, Defendant Donald J. Trump has imposed sweeping, content-based

restrictions that have chilled protected speech of millions of citizens and non-citizens like Plaintiffs

Momodou Taal (“Mr. Taal”), Mũkoma Wa Ngũgĩ (“Prof. Wa Ngũgĩ”), and Sriram Parasurama

(“Mr. Parasurama”). Executive Order 14161, “Protecting the United States from Foreign Terrorists

and Other National Security and Public Safety Threats,” 90 Fed. Reg. 8451 (Jan. 30, 2025), (“EO

1”) bars all non-citizens, including those lawfully present in the U.S. like Mr. Taal, from engaging

in speech that Defendants deem expresses a “hostile attitude” toward U.S. “citizens, culture,

government, institutions or founding principles” on penalty of deportation. Executive Order

14188, “Additional Measures to Combat Anti-Semitism,” 90 Fed. Reg. 8847 (Feb. 3, 2025), (“EO

2”) bars citizens and non-citizens alike from engaging in activity that Defendants deem is “anti-

Semitic” on penalty of deportation (for non-citizens) or criminal prosecution (for citizens and non-

citizens).

        Defendants acknowledge that the purpose of EO1 and EO2 (“the Orders”) is to chill speech

and suppress political opposition to the administration and its policies. An official Fact Sheet (“the

Fact Sheet”) published by the White House on January 30, 2025, accompanying EO 2 states that

American universities are overrun by “pro-Hamas aliens and left-wing radicals” and that the

Orders are aimed at attacking “leftist, anti-American colleges and universities.” Defendant Trump

said himself in May 2024 that “[o]ne thing I do is, any student that protests, I throw them out of

the country. You know, there are a lot of foreign students. As soon as they hear that, they’re going

to behave.”1 Senior Counsel to the Department of Justice’s Civil Rights Division Leo Terrell stated



1 Josh Dawsey, Karen DeYoung, & Marianne LeVine, Trump told donors he will crush Pro-

Palestinian protests, deport demonstrators, WASH. POST. (May 27, 2024),



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at the end of February 2025: “You see all these disorderly demonstrations, supporting Hamas and

trying to intimidate Jews? We are going to put these people in jail – not for 24 hours, but for years.”

Terrell said, “[A] lot is going to happen in the next four to five weeks” and once protestors face a

threat of jail time, “it will stop.”2

        Enforcement of the Orders has now begun. On March 9, 2025, Defendant DHS arrested

and detained Lawful Permanent Resident and former Columbia University graduate student

Mahmoud Khalil at his home in New York City. Mr. Khalil was prominent in the pro-Palestinian

demonstrations on campus. On March 10, 2025, Defendant Trump issued a statement declaring:

“This is the first arrest of many to come. We know there are more students at Columbia and other

Universities across the Country who have engaged in pro-terrorist, anti-Semitic, anti-American

activity, and the Trump Administration will not tolerate it. Many are not students, they are paid

agitators. We will find, apprehend, and deport these terrorist sympathizers from our country —

never to return again.”3

        The right to protest and criticize the government is the “central meaning” of the First

Amendment. New York Times v. Sullivan, 376 U.S. 254, 273 (1964). “Speech critical of the

exercise of the State’s power lies at the very center of the First Amendment.” Gentile v. State Bar

of Nev., 501 U.S. 1030, 1034 (1991). Perhaps nowhere is this right more essential for the



https://www.washingtonpost.com/politics/2024/05/27/trump-israel-gaza-policy-donors/. There
are indeed “a lot of foreign students” in the U.S., approximately 1.1 million of them as of
November 2024. See Inst. of Int’l Edu., United States Hosts More Than 1.1 Million International
Students at Higher Education Institutions, Reaching All-Time High, INST. OF INT’L EDU. (Nov.
18, 2024), https://www.iie.org/news/us-hosts-more-than-1-1-million-intl-students-at-higher-
education-institutions-all-time-high/.
2 Jewish News Syndicate, DOJ Antisemitism Task Force: We’ll Put Hamas Supporters in Jail

‘for Years’, NEWSMAX (Feb. 26, 2025, 9:18 AM), https://www.newsmax.com/us/hamas-
terrorists-antisemitic/2025/02/26/id/1200545/ .
3 Donald J. Trump (@realDonaldTrump), Trush Social (March 10, 2025, 1:05 PM),

https://truthsocial.com/@realDonaldTrump/posts/114139222625284782.


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maintenance of the democratic order than at colleges and universities, where “[t]eachers and

students must always remain free to inquire, to study and to evaluate, to gain new maturity and

understanding; otherwise our civilization will stagnate and die.” Sweezy v. New Hampshire, 354

U.S. 234, 250 (1957).

          The Orders have had the immediate impact of chilling the speech of non-citizens like Mr.

Taal, a Cornell University graduate student, prominent pro-Palestinian activist, and valid student

visa holder. Since the orders were promulgated, Mr. Taal has refrained from attending protests and

public political meetings, cancelled travel to international academic conferences, limited what he

posts on social media, and self-censored the views he expresses to professors and fellow-students.

This not only violates the speech rights of non-citizens lawfully present in the U.S. like Mr. Taal,

it also violates the speech rights of citizens like Cornell Prof. Wa Ngũgĩ and Cornell graduate

student Mr. Parasurama who have a right to listen to views critical of the government. Lamont v.

Postmaster General, 381 U.S. 301, 307 (1965); Murthy v. Missouri, 603 U.S. 43, 75 (2024) (“[W]e

have recognized a First Amendment right to receive information and ideas”). The orders also

violate all plaintiffs’ First Amendment rights to associate with one another.

          In addition, the orders are unconstitutionally vague, leaving Plaintiffs to guess as to what

kind of comments about American “culture” or “institutions” Defendants might subjectively

interpret as meriting deportation, or what kind of demonstration might make a citizen subject to a

years-long prison sentence should they attend. Not only does this deprive citizens and non-citizens

alike of their due process right to fair notice, it also has caused both groups to cease clearly

protected speech to avoid prosecution or deportation, depriving the each group of their right to

hear such protected speech from the other. See Grayned v. City of Rockford, 408 U.S. 104, 109

(1972).




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          As the government acknowledges, such a broad, content-based attack on the speech and

associational rights of citizens and non-citizens lawfully present in the U.S. is “unprecedented.”

There is no compelling state interest at issue here, let alone one that can meet the “strict scrutiny”

standard. The Orders’ references to “terrorism,” “Hamas,” and “anti-Americanism” are pretextual

scare tactics aimed at further chilling speech. Even if there were a compelling interest the Orders

sought to achieve, the broad and sweeping language referenced above is not narrowly tailored to

meet any legitimate end.

          Only in a dictatorship can the leader jail and banish political opponents for criticizing his

administration. A nationwide injunction is therefore necessary while the Court considers the

merits.

                                 II.   STATEMENT OF FACTS

A. Defendant Trump Issues Executive Orders Targeting Pro-Palestine Activism

          Throughout the presidential campaign, Defendant Trump threatened to “immediately

deport” non-citizen students who participate in protests. Speaking to the Republican Jewish

Coalition on or about October 28, 2023, Defendant Trump said, “All of the resident aliens who

joined in the pro-jihadist protest this month, nobody’s ever seen anything like it. Come 2025, We

will find you and we will deport you.”4 On or about May 14, 2024, Defendant Trump reportedly

told a gathering of reporters that if elected, he would wield the threat of deportation to stifle pro-

Palestinian protests and chill speech, declaring, “One thing I do is, any student that protests, I

throw them out of the country. You know, there are a lot of foreign students. As soon as they hear




4 Dave Boyer, Trump vows to deport Hamas sympathizers, restore sanctions on Iran, WASH.

TIMES (Oct. 28, 2023), http://washingtontimes.com/news/2023/oct/28/trump-vows-deport-
hamas-sympathizers-restore-sanct/.


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that, they’re going to behave.”5 Defendant Trump called the protests a “radical revolution” and

said, “it has to be stopped now . . . if you get me elected, and you should really be doing this, if

you get me reelected, we’re going to set that movement back 25 or 30 years.”6 Speaking that same

month, Defendant Trump told a rally in Wildwood, New Jersey, “When I am president we will not

allow our colleges to be taken over by violent radicals. If you come from another country and try

to bring Jihadism or anti-Americanism or anti-Semitism to our campuses, we will immediately

deport you. You’ll be out of that school.”7

        Making good on his promised ideological cleanse, after his inauguration, Defendant Trump

issued the Orders, designed to halt criticism of his administration, the United States, and the State

of Israel.

    1. EO 1: “Protecting the United States from Terrorists and National Security And Public
       Safety Threats

        Section 1(a) of EO 1 states that the policy of the government is “to protect its citizens from

aliens who intend to commit terrorist attacks, threaten our national security, espouse hateful

ideology, or otherwise exploit the immigration laws for malevolent purposes.” Exec. Order No.

14161, 90 Fed. Reg. 8451 (Jan 30, 2025). Section 1(b) sets forth that in order “[t]o protect

Americans . . . the United States must ensure that admitted aliens and aliens otherwise already

present in the United States do not bear hostile attitudes toward its citizens, culture, government,

institutions, or founding principles, and do not advocate for, aid, or support designated foreign

terrorists and other threats to our national security.” Id.




5 Dawsey, et al., supra note 1.
6 Id.
7 Laura Loomer (@LauraLoomer), X (May 12, 2024, 11:57 PM),

https://x.com/LauraLoomer/status/1789867595392250006.


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        Section 2 implements enhanced vetting of the speech and political opinions of non-citizens.

As relevant to Plaintiffs, Section 2(a)(i) requires Defendant Noem, the Attorney General, and the

Director of National Intelligence to “promptly . . . identify all resources that may be used to ensure

that all aliens . . . who are already in the United States, are vetted and screened to the maximum

degree possible.” Id. Section 2(a)(ii) requires the same officials to “ascertain whether [an]

individual seeking [an immigration] benefit is . . . not a security or public safety threat.” Id. Section

2(a)(iv) requires the officials to “vet and screen to the maximum degree possible all aliens who . .

. are already inside the United States.” Id.

        Section 3, inter alia, requires the Secretary of State, in coordination with Defendant Noem,

the Attorney General, and the Director of National Intelligence to “[r]ecommend any actions

necessary to protect the American people from the actions of foreign nationals who have

undermined or seek to undermine the fundamental constitutional rights of the American people,

including, but not limited to, our Citizens’ rights to freedom of speech and the free exercise of

religion protected by the First Amendment, who preach or call for sectarian violence, the

overthrow or replacement of the culture on which our constitutional Republic stands, or who

provide aid, advocacy, or support for foreign terrorists.” Id. (Emphasis added). The

recommendations were due no later than February 19, 2025, but as of the date of this filing have

not been made public.

    2. EO 2: “Additional Measures to Combat Anti-Semitism”

        Section 1 includes a preamble attacking “the prior administration” for failing to take steps

to “protect American Jews,” claiming “this failure is unacceptable and ends today.” Exec. Order

No. 14188, 90 Fed. Reg. 8847 (Feb. 3, 2025).




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        Section 2 states: “It shall be the policy of the United States to combat anti-Semitism

vigorously, using all available and appropriate legal tools, to prosecute, remove, or otherwise hold

to account the perpetrators of unlawful anti-Semitic harassment and violence.” Id.

        Section 3 requires Defendant Noem, in consultation with the Secretaries of State and

Education, to issue a report within 60 days to “identify[] all civil and criminal authorities or actions

within the jurisdiction of” each agency to “combat anti-Semitism.” Id. Section 3(e) authorizes the

Attorney General to make “recommendations for familiarizing institutions of higher education

with the grounds for inadmissibility under 8 U.S.C. § 1182(a)(3) so that such institutions may

monitor for and report activities by alien students and staff relevant to those grounds and for

ensuring that such reports about aliens lead, as appropriate and consistent with applicable law, to

investigations and, if warranted, actions to remove such aliens.” Id.

        High-ranking officials from the Department of Justice have recently indicated Defendants’

plan to prosecute citizens like Prof. Wa Ngũgĩ and Mr. Parasurama and subject them to long prison

sentences as a result of EO 2. This threat is an imminent one. Defendant Trump’s Senior Counsel

to the Department of Justice’s Civil Rights Division Leo Terrell stated at the end of February 2025:

“You see all these disorderly demonstrations, supporting Hamas and trying to intimidate Jews?

We are going to put these people in jail — not for 24 hours, but for years.” He went on to say, “a

lot is going to happen in the next four to five weeks” and that once protestors face a threat of jail

time, “it will stop.” On February 28, 2025, the U.S. Department of Justice’s Task Force to Combat

Anti-Semitism announced it would begin “meet[ing] with university leadership, impacted students




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and staff, local law enforcement, and community members as it gathers information” about protest

activity and alleged “anti-Semitic” activity on campuses to prepare for possible prosecution.8

B. The Executive Orders and Their Enforcement Chill Plaintiffs’ Speech and Association

       Mr. Taal is a citizen of the United Kingdom and the Republic of The Gambia. He is a

graduate student at Cornell University and resides lawfully in the United States pursuant to a valid

F-1 student visa under 8 U.S.C. § 1101(a)(15)(F)(i). Before and throughout his time in the United

States, Mr. Taal has been a vocal advocate for the rights of the Palestinian people and a consistent

critic of governments and institutions he believes are complicit in human rights violations against

Palestinians, particularly the government of Israel.

       As a result of his prominent position within the student movement, Mr. Taal began to face

increased scrutiny for his speech. On March 21, 2024, Representative Jason Smith of the House

Committee on Ways and Means – a prominent supporter of Defendant Trump – wrote to Cornell

President Martha Pollack and cited comments made by Mr. Taal as an example of the type of

speech that must be suppressed.9 According to the letter, the House Committee on Ways and

Means has dedicated substantial resources to monitoring protest activity at Cornell specifically,

and there is no indication that this focus has subsided.

       Mr. Taal has also been specifically targeted by Zionist groups that support Defendant

Trump and are actively lobbying the federal government to remove Mr. Taal from the country. In




8 Press Release, U.S. Dep’t of Justice, Federal Task Force to Combat Antisemitism Announces

Visits to 10 College Campuses that Experienced Incidents of Antisemitism (Feb. 28, 2025),
https://www.justice.gov/opa/pr/federal-task-force-combat-antisemitism-announces-visits-10-
college-campuses-
experienced#:~:text=Created%20pursuant%20to%20President%20Trump's,schools%20and%20
on%20college%20campuses.
9 Letter from U.S. Rep. Jason Smith to Martha E. Pollack 4 n.16 (March 21, 2024), https://gop-

waysandmeans.house.gov/wp-content/uploads/2024/03/Antisemitism-Ltr-to-Universities.pdf.


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November 2024, when the Zionist group Betar US (“Betar”) prepared a list of pro-Palestinian

foreign students it believed should be removed from the country, Mr. Taal was the only person

listed by name.10 The director of Betar, Ross Glick (“Mr. Glick”) delivered the list with Mr. Taal’s

name on it to Senator John Fetterman, as well as to aides from the offices of Senators Ted Cruz

and James Lankford. Mr. Glick told the New York Post, “They all gave me the thumbs up.” Id. Mr.

Glick also informed the Post that “Betar is already in contact with ‘prospective’ Trump

administration appointees in the Justice Department about how best to take action on those

identified.” The conservative publication Washington Free Beacon reported on February 11, 2025

that among all the “foreign students” who “have played a leading role” in pro-Palestinian protests

and could face “federal investigation or deportation following an executive order from President

Donald Trump,” Mr. Taal is the first and most important target.11 Numerous high-profile social

media accounts have issued appeals for Mr. Taal to be removed from the country, including by

“tagging” official accounts associated with Immigration and Customs Enforcement (“ICE”).12 On

March 13, Betar tweeted a statement titled “deport alert” naming Mr. Taal.13 Mr. Taal’s subjective

fear of being the target of a removal operation is rooted in objective reality.

       As a result of the executive orders, Mr. Taal has been forced to profoundly alter his prior

speech and association patterns. He has refrained from attending protests and public political



10 Jon Levine, Zionist org preps list of foreign pro-Hamas students, hoping Trump will deport

them, N.Y. POST (Nov. 23, 2024, 8:22 AM), https://nypost.com/2024/11/23/us-news/zionist-org-
preps-list-of-foreign-pro-hamas-students-hoping-trump-will-deport-them/.
11 Alana Goodman, Trump Pledged To Deport Pro-Hamas Student Visa Holders. Who Are

They?, WASH. FREE BEACON (Feb. 11, 2025), https://freebeacon.com/campus/trump-pledged-to-
deport-pro-hamas-student-visa-holders-who-are-they/.
12 See, e.g., @JewsFightBack, X (Feb 20, 2025, 1:08 PM),

https://x.com/JewsFightBack/status/1892637461412540818.
13 Betar Worldwide (@Betar_USA), X (March 13, 2025, 10:38 PM),

https://x.com/Betar_USA/status/1900194755050434943 .



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meetings, he has reduced what he posts on social media by a substantial amount, and he no longer

discusses politics with many associates from Cornell for fear that his words will be misinterpreted

and reported to government authorities. He is fearful at all times that he may be subject to being

arrested by immigration officials or police as a result of his speech.

       As a result of the chilling effect the Orders have had on Mr. Taal’s speech, the citizen-

plaintiffs have been unable to listen to his views in the types of public forums where Mr. Taal used

to be able to speak his mind freely. These fora include academic conferences, public political

meetings, off-campus protests, and even less formal political discussions in public places like

cafés, sidewalks, restaurants and other locations. Mr. Wa Ngũgĩ and Mr. Parasurama have been

deprived of their rights to listen to Mr. Taal’s ideas and suggestions about planning peaceful

protests and organizing educational meetings about the rights of the Palestinian people, as well as

his political insights into the historical, political, and sociological roots of what they understand to

be a genocide against the people of Palestine.

       All plaintiffs have also ceased interacting with one another in public locations, for fear of

drawing attention to their associations with one another. Mr. Parasurama, a U.S. citizen, student,

and prominent participant in local campus protests in support of the people of Palestine, used to

see Mr. Taal regularly at public political meetings and protests. Since the Orders were promulgated

in January, they have not been able to meet in person for fear that the mere act of associating with

one another may increase the risk of their being perceived as “anti-government” or “anti-Semitic.”

The resulting isolation has eroded their ability to engage in collective action and has undermined

their ability to freely express their views on contemporary political events.

        Recent enforcement actions based on the Orders have further increased Plaintiffs’

subjective and objective fear, further chilling their speech. On March 9, 2025, Defendant DHS




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arrested a former Columbia University graduate student and lawful permanent resident at his

apartment in New York City, New York. DHS spokesperson Tricia McLaughlin issued a statement

saying the arrest was “in support of President Trump’s executive orders prohibiting anti-Semitism”

and that DHS is “committed to enforcing President Trump’s executive orders and to protecting

U.S. national security.” The target of this arrest, Mahmoud Khalil, was a prominent activist on

campus.14

          On March 10, 2025, Defendant Trump posted a statement on the social media site Truth

Social:

                 Following my previously signed Executive Orders, ICE proudly
                 apprehended and detained Mahmoud Khalil, a Radical Foreign Pro-
                 Hamas Student on the campus of Columbia University. This is the
                 first arrest of many to come. We know there are more students at
                 Columbia and other Universities across the Country who have
                 engaged in pro-terrorist, anti-Semitic, anti-American activity, and
                 the Trump Administration will not tolerate it. Many are not students,
                 they are paid agitators. We will find, apprehend, and deport these
                 terrorist sympathizers from our country — never to return again. If
                 you support terrorism, including the slaughtering of innocent men,
                 women, and children, your presence is contrary to our national and
                 foreign policy interests, and you are not welcome here. We expect
                 every one of America’s Colleges and Universities to comply. Thank
                 you!15

                                  III.   LEGAL STANDARD

          To prevail on the pending motion, Plaintiffs must show “(1) irreparable harm absent

injunctive relief; (2) either a likelihood of success on the merits, or a serious question going to the

merits to make them a fair ground for trial, with a balance of hardships tipping decidedly in the



14 Surina Venkat, Department of Homeland Security confirms arrest of Palestinian activist

Mahmoud Khalil, SIPA ’24, COLUMBIA SPECTATOR (March 10, 2025, 12:43 PM),
https://www.columbiaspectator.com/news/2025/03/10/department-of-homeland-security-
confirms-arrest-of-palestinian-activist-mahmoud-khalil-sipa-24/.
15Donald J. Trump, supra note 3.



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plaintiff[s’] favor; and (3) that the public’s interest weighs in favor of granting the injunction.”

Red Earth LLC v. United States, 657 F.3d 138, 143 (2d Cir. 2011) (setting forth preliminary

injunction standard); Spencer Trask Software & Info. Servs., LLC v. RPost Int'l, Ltd., 190 F. Supp.

2d 577, 580 (S.D.N.Y. 2002) (“The standard for granting a temporary restraining order and a

preliminary injunction . . . are identical.”). Plaintiffs meet all four factors.

                                       IV.     ARGUMENT

        The Second Circuit has recognized that “[v]iolations of First Amendment rights are

commonly considered irreparable injuries for the purposes of a preliminary injunction.” Bery v.

City of New York, 97 F.3d 689, 693 (2d Cir. 1996), cert denied, 520 U.S. 1251 (1997); see also

Million Youth March v. Safir, 63 F.Supp.2d 381, 388 (S.D.N.Y. 1999) (granting preliminary

injunction against ban on protest). “[W]hether plaintiffs have satisfied the requirements for a

preliminary injunction turns on whether they have shown a likelihood of success on the merits of

their claim . . . .” Latino Law Officers Assoc. v. City of New York, 196 F.3d 448, 462 (2d Cir. 1999)

(citing Beal v. Stern, 184 F.3d 117, 123–24 (2d Cir.1999)); see also N.Y. Progress and Prot. PAC

v. Walsh, 733 F.3d 483, 488 (2d Cir. 2013) (“[C]onsideration of the merits is virtually

indispensable in the First Amendment context, where the likelihood of success on the merits is the

dominant, if not the dispositive, factor.”)

A. Plaintiffs Have a Strong Likelihood of Success on the Merits

    1. The Orders Substantially Interfere with the First Amendment

        a) The Orders Substantially Interfere with Plaintiffs’ Free Speech Rights

          i.    Mr. Taal’s Free Speech Rights

        Each executive order has imposed an unconstitutional chilling effect Mr. Taal’s right to

free speech. The First Amendment protects “the people” and not citizens alone. U.S. Const.




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Amend. I. This includes domestic speech engaged in by non-citizens like Mr. Taal when they are

lawfully present in the U.S.

        “Freedom of speech and of press is accorded [non-citizens] residing in this country.”

Bridges v. Wixon, 326 U.S. 135, 148 (1945). “The Bill of Rights belongs to [non-citizens] as well

as to all citizens. It protects them as long as they reside within the boundaries of our land. It protects

them in the exercise of the great individual rights necessary to a sound political and economic

democracy.” Id. at 166 (Murphy, J., concurring). Whatever restrictions may be imposed on the

speech of non-citizens located extra-territorially who seek initial admission to the U.S., individuals

like Mr. Taal who live in the U.S. and have established “substantial connections with this country”

are protected by the Bill of Rights. United States v. Verdugo-Urquidez, 494 U.S. 259, 271 (1990);

Plyler v. Doe, 457 U.S. 202, 210-12 (1982).

        The executive orders plainly impose content-based restrictions on speech by targeting

speech that is critical of the U.S. government, its institutions, American “culture” and the

government of Israel. “Speech critical of the exercise of the State’s power lies at the very center

of the First Amendment.” Gentile, 501 U.S. at 1034; see also Cohen v. California, 403 U.S. 15,

18 (1971) (treating conviction for wearing a jacket with offensive message as based on pure

speech). “[L]awful political speech [is] at the core of what the First Amendment is designed to

protect.” Virginia v. Black, 538 U.S. 343, 365 (2003). Such speech “is at the heart of the First

Amendment’s protections.” First National Bank v. Bellotti, 435 U.S. 765, 776 (1978). “It is rare

that a regulation restricting speech because of its content will ever be permissible.” United States

v. Playboy Entertainment Group, Inc., 529 U.S. 803, 818 (2000).

        The government can have no compelling or even a legitimate state interest in preventing

individuals to whom the First Amendment applies from criticizing the government, its institutions,




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Defendant Trump, American government policy, American culture, or the government of Israel.

Even if the orders actually did possess some nexus to an articulable national security concern, such

concerns “do not warrant abdication of the judicial role” and courts “should not defer to the

government’s reading of the First Amendment, even when such interest are at stake.” Holder v.

Humanitarian Law Project, 561 U.S. 1, 34 (2010).

         These rights are of particular importance on university campuses. In Sweezy v. New

Hampshire, the U.S. Supreme Court deemed unconstitutional a state government’s attempt to

investigate the content of a professor’s classroom teachings to determine whether he was a

“subversive person.” The Court held:

               The essentiality of freedom in the community of American
               universities is almost self-evident. No one should underestimate the
               vital role in a democracy that is played by those who guide and train
               our youth. To impose any strait jacket upon the intellectual leaders
               in our colleges and universities would imperil the future of our
               Nation. No field of education is so thoroughly comprehended by
               man that new discoveries cannot yet be made. Particularly is that
               true in the social sciences, where few, if any, principles are accepted
               as absolutes. Scholarship cannot flourish in an atmosphere of
               suspicion and distrust. Teachers and students must always remain
               free to inquire, to study and to evaluate, to gain new maturity and
               understanding; otherwise our civilization will stagnate and die.

354 U.S. at 250; see also Weiman v. Updegraff, 344 U.S. 183 (1952); Keyishian v. Bd. Of Regents,

385 U.S. 589, 603 (1967) (“Our Nation is deeply committed to safeguarding academic freedom,

which is of transcendent value to all of us and not merely to the teachers concerned. That freedom

is therefore a special concern of the First Amendment, which does not tolerate laws that cast a pall

of orthodoxy over the classroom”); Shelton v. Tucker, 364 U.S. 479, 487 (1960) (“The vigilant

protection of constitutional freedoms is nowhere more vital than in the community of American

schools.”) Mr. Taal has a high likelihood of succeeding in his First Amendment freedom of speech

claim.



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         ii.   Prof. Wa Ngũgĩ and Mr. Parasurama’s Free Speech Rights

       The government appears to interpret EO 2 to allow criminal prosecution of citizens like

Prof. Wa Ngũgĩ and Mr. Parasurama who speak against what they perceive to be a genocide

conducted by the government of Israel with U.S. support.

       The government may not criminalize speech unless that speech is “directed to inciting or

producing imminent lawless action and is likely to incite or produce such action.” Brandenburg v.

Ohio, 395 U.S. 444, 447-48 (1969). Speech restrictions of this character must be considered

“against the background of a profound national commitment to the principle that debate on public

issues should be uninhibited, robust, and wide-open, and that it may well include vehement,

caustic, and sometimes unpleasantly sharp attacks on government and public officials.” New York

Times Co., 376 U.S. at 270; see also Watts v. United States, 394 U.S. 705, 708 (1969) (political

hyperbole not a true threat); Friend v. Gasparino, 61 F.4th 77, 90 n.6 (2d Cir. 2023).

       By threatening criminal prosecution of U.S. citizens who participate in protests against the

government of Israel, the language of EO 2 combined with statements made by Defendant Trump

and high-ranking officials in the Department of Justice have had an immediate chilling effect on

the speech and activity of Prof. Wa Ngũgĩ and Mr. Parasurama, who despite a past pattern and

practice of attending protests and criticizing Israel have refrained from such activity in the weeks

following the promulgation of EO 2 for fear of being arrested, prosecuted, and jailed for years.

       As stated above, the government can have no compelling or legitimate interest in

preventing criticism of the United States or other governments. Infra Section IV(A)(1)(a)(i). Even

if EO 2 did possess a nexus to the government’s interest in enforcing anti-discrimination laws, the

massive sweep of the order must be constrained by application of the First Amendment. The courts

should not take Defendants at their word that enforcement will be narrowly tailored to violations




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of law given their statements and recent enforcement actions that plainly indicate their intention

to criminalize any and all speech they deem “anti-Semitic.” Criticism of the government of Israel

and anti-Zionism are not the same as antisemitism. Even if one finds criticism of the United States

or of Israel offensive, “the fact that society may find speech offensive is not a sufficient reason for

suppressing it. Indeed, if it is the speaker's opinion that gives offense, that consequence is a reason

for according it constitutional protection.” F.C.C. v. Pacifica Found., 438 U.S. 726, 745 (1978).

The citizen-plaintiffs have a high likelihood of showing EO 2 has chilled their speech in violation

of their First Amendment rights to freedom of speech.

       b) The Orders Substantially Interfere with Plaintiffs’ Right to Listen

       The First Amendment protects the right of citizens like Prof. Wa Ngũgĩ and Mr.

Parasurama to hear, receive, debate and discuss views that are critical of the U.S. government with

non-citizens, and vice versa. “The First Amendment involves not only the right to speak and

publish but also the right to hear, to learn, to know.” Kleindienst v. Mandel, 408 U.S. 753, 771

(1972). “We have recognized a First Amendment right to receive information and ideas.” Murthy

v. Missouri, 144 S. Ct. 1972, 1996 (2024). See generally, Stanley v. Georgia, 394 U.S. 557, 564

(1969); Amer. Acad. of Religion v. Napolitano, 573 F.3d 115 (2d Cir. 2009).

       This includes the right to hear criticisms of the government by non-citizens, even when

such criticisms come from outside the U.S. (unlike here). In Lamont v. Postmaster General, the

U.S. Supreme Court struck down an act of Congress requiring U.S. citizens to affirmatively request

the Postal Service deliver mail containing “subversive” publications sent by a foreign publisher.

The Court held that “[t]his amounts in our judgment to an unconstitutional abridgment of the

addressee’s First Amendment rights.” 381 U.S. 301, 307 (1965). “The dissemination of ideas can

accomplish nothing if otherwise willing addressees are not free to receive and consider them.” Id.




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at 308 (Brennan, J., concurring). “[T]he First Amendment goes beyond protection of . . . the self-

expression of individuals to prohibit government from limiting the stock of information from

which members of the public may draw.” Boston v. Bellotti, 435 U.S. 765, 783 (1978).

        The Orders have substantially disrupted Prof. Wa Ngũgĩ and Mr. Parasurama’s right to

listen to Mr. Taal’s views on issues of contemporary relevance and vice versa. The citizen-

plaintiffs have been unable to listen to his views in the types of public forums where Mr. Taal used

to be able to speak his mind freely, including at academic conferences, at public political meetings,

during off-campus protests, and even during less formal political discussions in public places like

cafés, sidewalks, restaurants and other locations. Prof. Wa Ngũgĩ and Mr. Parasurama have been

deprived of their rights to listen to Mr. Taal’s ideas and suggestions about planning peaceful

protests, organizing educational meetings about Palestinian rights, as well as his political insights

into the historical, political and sociological roots of what they understand to be a genocide against

the people of Palestine. Plaintiffs have a high likelihood of succeeding on their First Amendment

“right to listen” claim.

        c) The Executive Orders Substantially Interfere with Plaintiffs’ Free Association Rights

       The executive orders have prohibited Plaintiffs from associating with one another in public

for fear of subjecting themselves or one another to deportation or criminal prosecution.

       The Supreme Court has recognized “a right to associate for the purpose of engaging in

those activities protected by the First Amendment.” Roberts v. U.S. Jaycees, 468 U.S. 609, 618

(1984). The freedom of association is “an indispensable means of preserving other individual

liberties,” id., for the “freedom to speak [or] to worship . . . could not be vigorously protected from

interference by the State unless a correlative freedom to engage in group effort toward those ends

were not also guaranteed.” Id. at 622. Government action violates the First Amendment if it




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interferes with a person’s freedom of expressive association in a “‘direct and substantial’ or

‘significant’” way. Fighting Finest, Inc. v. Bratton, 95 F.3d 224, 228 (2d Cir. 1996); Lyng v. Int’l

Union, 485 U.S. 360, 366-67 n.5 (1988). So too for government action that results in “self-

censorship” – “a harm that can be realized even without an actual prosecution.” Vt. Right to Life

Comm. v. Sorrel, 221 F.3d 376, 382 (2d Cir. 2000) (quoting Virginia v. American Booksellers

Ass’n, 484 U.S. 383, 393 (1988)).

       By barring non-citizens from criticizing the U.S. government, its institutions, its policies,

American culture, and the government of Israel, the Orders have prohibited Mr. Taal, Prof. Wa

Ngũgĩ and Mr. Parasurama from interacting, meeting, holding discussions, or otherwise publicly

associating with one another. This implicates each Plaintiff’s associational rights, regardless of

alienage. Because of Mr. Taal’s prominent role speaking against U.S. and Israeli government

policy and because EO 1 announced that Defendant DHS is surveilling all non-citizens in the U.S.

to monitor their political views, he possesses a reasonable fear that associating with local activists

may constitute an “anti-American” act in itself, thereby subjecting him to possible negative

immigration consequences. And because EO2’s criminal prosecution provision applies to citizens

as well as non-citizens, all Plaintiffs fear that Defendants might interpret their association with one

another as proof of activity that falls under the ambit of that order. This has produced an

unconstitutional chilling effect on all Plaintiffs’ right to freely and publicly associate with one

another. Plaintiffs therefore have a high likelihood of showing the Orders have substantially

impacted their First Amendment right to freely associate with one another.

       d) The Government Cannot Satisfy Strict Scrutiny

       Strict scrutiny permits the government to restrict speech “only if [it] proves that [its

restrictions] are narrowly tailored to serve compelling state interests.” Reed v. Town of Gilbert,




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576 U.S. 155, 163 (2015). Narrow tailoring requires that the restriction on speech be “necessary to

serve the asserted compelling interest . . . precisely tailored to serve that interest, and . . . the least

restrictive means readily available for that purpose.” Hobbs v. County of Westchester, 397 F.3d

133, 149 (2d Cir. 2005) (internal quotation marks, alteration, and citation omitted). This is a “strict

test” because “regulations of speech based on its content are presumptively invalid.” Id. at

149 (internal quotations omitted).

        The Orders proscribe criticism of the government on American university campuses. It

would be difficult to imagine a circumstance in which a more rigorous inquiry was required. There

is no state interest, compelling or otherwise, in barring criticism of the government of this country

or a foreign country, as such an “interest” would be inherently inimical to the Constitution. Neither

Order contains language indicating an attempt to narrowly tailor speech restrictions to meet any

compelling end, and Defendants’ actions and statements indicate their lack of interest in doing so.

    2. The Orders Are Unconstitutionally Vague and Overbroad

        The Orders are also unconstitutionally vague and overbroad. The sweeping and confusing

language of the orders creates substantial uncertainty as to the type of speech barred and plainly

sweeps up protected speech. This uncertainty in EO 1 has chilled a broad range of protected speech

on the part of non-citizens and that in EO 2 has done the same for the protected speech of citizens.

This in turn has had a chilling effect on each group’s right to listen to protected speech of the other.

        “Where a vague statute abuts upon sensitive areas of basic First Amendment freedoms, it

operates to inhibit the exercise of those freedoms. Uncertain meanings inevitably lead citizens to

steer far wider of the unlawful zone . . . than if the boundaries of the forbidden areas were clearly

marked.” Grayned, 408 U.S at 109 (1972) (quotations and citations omitted); see also Reno v.

ACLU, 521 U.S. 844, 871-72 (1997) (“The vagueness of such a regulation raises special First




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Amendment concerns because of its obvious chilling effect on free speech.”) A restriction on

speech is unconstitutionally vague if “a substantial number of [the law’s] applications are

unconstitutional, judged in relation to the statute’s plainly legitimate sweep.” Ams. for Prosperity

Found. v. Bonta, 594 U.S. 595, 615 (2021); United States v. Hansen, 599 U.S. 762, 770 (2023)

(regulation is void for vagueness if it “prohibits a substantial amount of protected speech relative

to its plainly legitimate sweep”).

       “The first step in the proper facial analysis is to assess the . . . law’s scope” and “[t]he next

order of business is to decide which of the laws’ applications violate the First Amendment, and to

measure them against the rest.” Moody v. NetChoice, LLC, 603 U.S. 707, 725 (2024).

       Both steps militate in Plaintiffs’ favor here. The language of the Orders encompasses all

speech critical of the government, its institutions, American culture, and the government of Israel.

Their scope is unprecedented in the context of First Amendment restrictions. The vast majority of

the Orders’ applications sweep-up speech that is clearly protected. Under EO 1 a non-citizen may

not express a “hostile attitude” to Congress, the Supreme Court, Defendant DHS, or Defendant

Trump and his administration’s policies. Nor does EO 1 define Defendant Trump’s conception of

American “culture”. For instance, the language of this Order would appear to proscribe scholarship

or speech that draws attention to more iniquitous moments in American history, like the expulsion

of Native Americans, Jim Crow and the lynching of Black Americans, Japanese Internment, or

McCarthyism. On its face the language would even appear to bar criticism of the music of

Gershwin, the novels of Dreiser, or the paintings of Rockwell. The Orders criminalize no type of

activity or speech that is not already barred by either the inadmissibility and deportability statutes

(8 U.S.C. §§ 1182 and 1227, respectively) or the criminal “material support for terrorism” statute

(18 U.S.C. § 2339B).




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          The broad and sweeping character of the Orders has led non-citizens and citizens to self-

censor speech that is plainly protected for fear of transgressing the vague boundaries enumerated

therein. As a result, both groups’ right to listen to such protected speech has been chilled.

   3. The Orders Are Unconstitutionally Vague and Violate Plaintiffs’ Fifth Amendment Rights

          Each Order is also unconstitutionally vague under the Fifth Amendment to the U.S.

Constitution because they cause persons “of common intelligence . . . necessarily [to] guess at its

meaning and [to] differ as to its application.” Connally v. General Constr. Co., 269 U.S. 385, 391

(1926).

          The degree of precision required increases with the gravity of the penalty and the

importance of the rights at stake. Village of Hoffman Estates v. Flipside, Hoffman Estates, Inc.,

455 U.S. 489, 498-99 (1982) (higher standard applicable when speech at stake). EO 2 subjects

Plaintiffs to the threat of prosecution for pro-Palestinian speech, and both Orders subject Mr. Taal

to the threat of removal. “The severity of criminal sanctions may well cause speakers to remain

silent rather than communicate even arguably unlawful words, ideas, and images.” Id. at 872; see

also Dombrowski v. Pfister, 380 U.S. 479, 494 (1965).

          Deportation is a “particularly severe penalty,” Padilla v. Kentucky, 559 U.S. 356, 365

(2010); a “drastic measure and at times the equivalent of banishment or exile,” Fong Haw Tan v.

Phelan, 333 U.S. 6, 10 (1948), and may deprive a non-citizen “of all that makes life worth living.”

Ng Fung Ho v. White, 259 U.S. 276, 284 (1922). “The impact of deportation upon the life of an

[non-citizen] is often as great if not greater than the imposition of a criminal sentence.” Bridges,

326 U.S. at 164 (Murphy, J., concurring).

          Neither Order provides individuals of common intelligence with an understanding as to the

type of speech and association barred. EO 1 conflates any criticism of the U.S. government, its




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institutions, and American “culture” with “terrorism,” and EO 2 conflates criticism of the State of

Israel with “anti-Semitism.” According to Defendant Trump’s January 30, 2025, fact sheet on the

Orders, they equate “joining protests” with support for Hamas, a designated Foreign Terrorist

Organization (“FTO”). In the fact sheet, Defendant Trump states that college campuses are “leftist”

and “infested with radicalism like never before,” indicating that the EO 2 is aimed at targeting left-

wing and anti-war speech, with claims of “terrorism” serving as a mere pretext.

       EO 2 makes Plaintiffs vulnerable to criminal prosecution for engaging in purportedly “anti-

Semitic” behavior. Based on the broad and sweeping language of the Order, combined with the

January 30 fact sheet and public statements made by Defendant Trump and his spokespersons, EO

2 fails to provide the Plaintiffs with sufficient notice of the type of speech that may result in their

criminal prosecution. This renders it impossible for Plaintiffs to conform their speech to the terms

of the Order.

       As a result of the vague language of the Orders, the accompanying fact sheet and public

statements by Defendant Trump, a person of average intelligence would understand that any

criticism of a government “institution” might include a social media post questioning the actions

of the office of the president, a decision to sign an open letter expressing concerns over a particular

executive action, or that attending a peaceful demonstration in support of the people of Palestine

might be construed as “terrorism” or support for Hamas. In the academic context, this would apply

to academic research, homework assignments, or statements in class. Because the Orders fail to

provide sufficient notice of the type of speech barred, it denies Plaintiffs’ due process rights to

understand how to conform their speech to the law.

B. Plaintiffs Have Suffered Irreparable Harm and Will Continue to Suffer Such Harm
   Absent an Injunction




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       Plaintiffs have suffered irreparable harm. “There can be no question that the challenged

restrictions, if enforced, will cause irreparable harm” and “loss of First Amendment freedoms, for

even minimal periods of time, unquestionably constitutes irreparable injury.” Roman Catholic

Diocese v. Cuomo, 592 U.S. 14, 19 (2020) (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976)

(plurality opinion)). Plaintiffs “are suffering irreparable harm each day that their Constitutional

freedoms are infringed.” Nat’l Inst. for Fam. & Life Advocates v. James, 2024 U.S. Dist. LEXIS

150635, 24-CV-514 at *10-11 (W.D.N.Y. Aug. 22, 2024); A plaintiff “has sufficiently

demonstrated for preliminary injunction purposes that he may suffer irreparable harm arising from

a possible deprivation of his constitutional rights.” Agudath Isr. v. Cuomo, 983 F.3d 620, 637 (2d

Cir. 2020) (quoting Covino v. Patrissi, 967 F.2d 73, 77 (2d Cir. 1992)). “Because the deprivation

of First Amendment rights is an irreparable harm, in First Amendment cases ‘the likelihood of

success on the merits is the dominant, if not the dispositive, factor.’” Agudath Isr., 967 F.2d at 637

(quoting N.Y. Progress & Prot. PAC v. Walsh, 733 F.3d 483, 488 (2d Cir. 2013)). Plaintiffs have,

at the very minimum, established a “possible” deprivation of their constitutional rights, which is

either the dominant or dispositive factor in adjudicating a motion for a temporary restraining order.

C. The Remaining Factors Weigh Heavily in Favor of a Temporary Restraining Order

       The balance of the equities and the public interest also weigh in Plaintiffs’ favor. The final

factors – the balance of equities and the public interest – “merge when the Government is the

opposing party.” Nken v. Holder, 556 U.S. 418, 435 (2009). The “public interest is best served by

ensuring the constitutional rights of persons within the United States are upheld.” Sajous v. Decker,

No. 18-CV-2447 (AJN), 2018 U.S. Dist. LEXIS 86921, at *13 (S.D.N.Y. May 23, 2018). “No

public interest is served by maintaining an unconstitutional policy when constitutional alternatives

are available to achieve the same goal.” Agudath Isr., 983 F.3d at 637.




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D. Because The Orders Violate the First and Fifth Amendments, This Court Should Enjoin
   Their Enforcement Nationwide

       Where “a constitutional violation is found, a federal court is required to tailor the scope of

the remedy to fit the nature and extent of the constitutional violation.” Dayton Bd. of Educ. v.

Brinkman, 433 U.S. 406, 420 (1977). The Orders apply nationwide, the chilling effect is national

in scope, and therefore the remedy must be national.

       The Constitution vests this Court with “the judicial Power of the United States.” U.S.

Const. art. III, § 1. The Second Circuit has acknowledged that “[w]e have no doubt that the law,

as it stands today, permits district courts to enter nationwide injunctions, and agree that

such injunctions may be an appropriate remedy in certain circumstances – for example, where only

a single case challenges the action . . . .” New York v. United States Dep’t of Homeland Sec., 969

F.3d 42, 88 (2d Cir. 2020). Because the instant lawsuit is the first case challenging the two speech-

related Orders, a national injunction is appropriate.

       Because Plaintiffs have shown a violation of their First and Fifth Amendment rights, and

for the reasons that follow, the Court should therefore: (1) vacate Section 1(b) of EO 1’s

prohibition on speech critical of the government, its institutions, and American culture as applied

to non-citizens lawfully residing in the U.S.; (2) vacate any and all provisions of either Order

establishing vetting or enforcement mechanisms to enforce Section 1(b) of EO 1 against such

persons, including Sections 2(a)(i), (2)(a)(ii) and (iv) of EO 1 and the “monitor and report”

requirement in Section 3(e) of EO 2 as applied to non-citizens facing the risk of both prosecution

and removal; (3) enjoin Defendants from taking any measures to enforce any such provision of

either Order as applied to non-citizens; and (4) enjoin Defendants from enforcing Section 2 of EO

2’s criminal prosecution provision against speech and activity by citizens and lawfully present

non-citizens criticizing the government of Israel.



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                                    V.     CONCLUSION

       For these reasons, the Court should grant the motion and enjoin the government from

enforcing the two Executive Orders in question here until the Court can further consider the merits.

 Dated: March 15, 2025                             Respectfully submitted,

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